129 F.3d 124
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Fred CAMERON;  Jeff Bower;  David Cortez;  Dan McWilliams,Plaintiffs-Appellants,v.ANHEUSER-BUSCH, INC.;  Rober Warner;  George Logan;  RussWhitmeyer &amp; Assoc., Inc., Defendants-Appellees.
    No. 96-56226.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Oct. 6, 1997.Decided Oct. 23, 1997.
    
      Appeal from the United States District Court for the Central District of California, No. CV-95-08651-AAH-Mcx;  A. Andrew Hauk, District Judge, Presiding.
      Before:  PREGERSON, D.W. NELSON, and HAWKINS, Circuit Judges.
    
    
      1
      ORDER*
    
    
      2
      We AFFIRM the District Court's grant of summary judgment to appellees.
    
    
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.  R. 36-3
      
    
    